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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
AIDEN BAE (husband) and )
YOONHA JUNG (wife), )
)
Plaintiff, )
) Civil Action No.:
v. )
) NOTICE OF REMOVAL
VIRGINIA TRANSPORTATION, ) PURSUANT TO DIVERSITY
CORP, JOSEPH CAMISA, JR.., ) FEDERAL JURISDICTION:

JOHN DOES I-X, ABC
CORPORATION J-X XYZ 28 U.S.C. § 1332.
EMPLOYER I-X,

Defendants.

 

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. § 1332, Defendants, Virginia Transportation, Corp. (“VTC”) and
its employee driver operating in the scope of his employment at all relevant times, Joseph
Camisa (“Camisa”) (“VTC” and “Camisaa” collectively referred to herein at times as
“Defendants”) hereby give notice of the removal of this cause of action to the United States
District Court for the District of New Jersey. Defendants state the following as grounds for
removal.

BACKGROUND

1. On or about February 3, 2020, Plaintiffs filed a First Amended Complaint in
the Superior Court of New Jersey, Law Division, Hudson County styled Bae and Jung v.
Virginia Transportation, et. al. The First Amended Complaint was issued Docket No.: HUD-
L-426-20 See Exhibit “A,” attached hereto, First Amended Complaint, Notice to Take Oral

Depositions, Demand for Answers to Interrogatories, First Demand for Supplemental
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Interrogatories, Demand for Discovery of Insurance Coverage, Plaintiff's Statement of
Damages, Demand for Production of Documents and Notice of Track Assignment.

2. The First Amended Complaint was served on VTC on February 11, 2020 and
on Camisa on February 7, 2020. Thus, the first notice of this lawsuit was on February 7, 2020.
See Exhibit “B,” attached hereto, Affidavits of Service.

35 Before the First Amended Complaint was filed on February 3, 2020 and before
the First Amended Complaint was served on February 7, 2020 and on February 11, 2020, the
Plaintiffs filed a Complaint on January 29, 2020 but that Complaint was not served and instead
was superseded by the February 3, 2020 First Amended Complaint. See Exhibit “C,” attached
hereto, prior unserved Complaint.

4. The First Amended Complaint generally alleges damages from a motor vehicle
accident occurring on July 1, 2019 and that Camisa was acting at all relevant times as the
“agent, servant and/or employee” of VTC, that he was in the “course of his employment” of
VTC, that he operated a VTC owned tractor trailer which is alleged to have impacted Plaintiff's
vehicle and that VTC is liable under theories of “Respondeat Superior.” See Exhibit “A,”
attached hereto, First Amended Complaint, First Count, paragraph 2 and Second Count,

paragraphs 2, 3 and 4.

THE AMOUNT IN DISPUTE IS OVER $75,000.00
os Plaintiffs filed a Statement of Damages claiming $1,000,000.00 in damages.

See Exhibit “A,” attached hereto, Statement of Damages attached to First Amended Complaint.
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THE PARTIES ARE OF DIVERSE CITIZENSHIP

6. Plaintiffs allege they are residents of the State of New Jersey, County of Bergen,
Borough of Fort Lee. See Exhibit “A,” attached hereto, First Amended Complaint,
introductory paragraph.

7. The Amended Complaint does not allege citizenship of the Defendants.
Nevertheless, Defendant VTC is a foreign limited liability company. Defendant VTC is a
Rhode Island Corporation which has its principal place of business located in the State of
Rhode Island. The First Amended Complaint generally alleges Camisa was acting at all
relevant times as the “agent, servant and/or employee” of VTC, that he was in the “course of
his employment” of VTC, that he operated a VTC owned tractor trailer which is alleged to
have impacted Plaintiffs vehicle and that VTC is liable under theories of “Respondeat
Superior.” See Exhibit “A,” attached hereto, First Amended Complaint, First Count, paragraph
2 and Second Count, paragraphs 2, 3 and 4. Camisa was served with the Amended Complaint
in New Jersey. See Exhibit “A,” attached hereto.

8. Because Plaintiff only sued VTC and joined Camisa as the “agent, servant
and/or employee” of VTC acting in the “course of his employment” of VTC and alleged that
VTC is liable under theories of “Respondeat Superior” for Camisa, the presence of Camisa in
the case by the Plaintiffs does not destroy diversity. Thus, on the face of Plaintiffs’ Complaint,
Camisa is not alleged to be independently liable to the Plaintiffs. See e.g., Baeza v. Tibbetts,
2006 U.S. Dist. LEXIS 95317 (D.N.J. 2006) and McDaniel v. Loya, 304 F.R.D. 617 (D. N.M.
2015). Both of those cases analyzed the “sham” joinder doctrine. The sole party Plaintiff
alleges could be liable is VTC, which is a Rhode Island corporate entity with a Rhode Island

principal place of business. Plaintiffs are alleged to be citizens of New Jersey.
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PROPRIETY OF REMOVAL

9. Pursuant to 28 U.S.C. § 1332, Federal Courts have original jurisdiction over
cases and controversies, such as the instant matter, wherein the amount in dispute exceeds
$75,000.00 and the parties are of diverse citizenship.

10. Accordingly, this Honorable Court has Federal Subject Matter Jurisdiction on
the basis of Diversity pursuant to 28 U.S.C. § 1332.

11. This Notice of Removal is timely filed because it is filed within thirty (30) days
of service of Plaintiffs’ First Amended Complaint. Plaintiffs did not serve the originally filed
Complaint and instead only served the First Amended Complaint. See Exhibit “A.”

12. This Court has original jurisdiction of this matter pursuant to 28 U.S.C. § 1332.

13. | This matter is subject to removal pursuant to 28 U.S.C. § 1441.

14. —_— Pursuant to 28 U.S.C. § 1446(a), Defendants attach hereto as Exhibits “A,” “B”
and “C,” which comprise a copy of the record in State Court.

15. Pursuant to 28 U.S.C. § 1446(a) and (d), Defendants will file a copy of this
Notice of Removal with the Clerk, Superior Court of New Jersey, Law Division, Hudson
County, will provide prompt notice to all parties and will file proof of service of all notices

and filings with the Clerk of the United States District Court for the District of New Jersey.
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WHEREFORE, Defendants remove the above-captioned action from the Superior

Court of New Jersey, Law Division, Hudson County, to the United States District Court for

the District of New Jersey

Dated: Woodcliff Lake, NJ
March 4, 2020

  

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Thomas C. Martin, Esq.

tmartin@pricemeese.com

PRICE, MEESE,

SHULMAN & D’ARMINIO, P.C.

50 Tice Boulevard, Suite 380

Woodcliff Lake, New Jersey 07677

(T) 201-391-3737 : (F) 201-391-9360
Attorneys for Defendants, Virginia
Transportation, Corp. and Joseph Camisa

 
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CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing has been filed and served via
CM/ECF and/or via United States mail, postage prepaid, as applicable, this 4" day of March,
2020, upon:

Maggiano, DiGirolamo & Lizzi, P.C.
201 Columbia Avenue

Fort Lee, New Jersey 07024
Attention: Eunmi Hwang, Esq.
Attorneys for Plaintiffs

Clerk

Superior Court of New Jersey
Law Division

Hudson County

595 Newark Avenue

Jersey City, New Jersey 07306

Thomas C. Martin, Esq.

Dated: Woodcliff Lake, NJ
March 4, 2020
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EXHIBIT
 

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MAGGIANO, DiGIROLAMO & LIZZ], P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

LAW DIVISION: HUDSON COUNTY
AIDEN BAE (husband) and YOONHA SUPERIOR COURT OF NEW JERSEY

JUNG (wife)

Plaintiff, Docket Number: HUD-L-426-20
Vs.

Civil Action

VIRGINIA TRANSPORTATION, JOSEPH
J. CAMISA, JR., JOHN DOES I-X, (said ) FIRST AMENDED COMPLAINT, JURY
names being fictitious, true names presently _) DEMAND, NOTICE TO TAKE ORAL
unknown), ABC CORPORATION I-X (said) DEPOSITIONS, DEMAND FOR
names being fictitious, true names presently ) ANSWERS TO INTERROGATORIES,
unknown), XYZ EMPLOYER I-X (said DEMAND FOR CERTIFICATION OF
names being fictitious, true names presently INSURANCE COVERAGE AND CIVIL
unknown) INFORMATION STATEMENT (CIS)

)
)
)
)
)
)
Defendant(s).
)

 

Plaintiff, AIDEN BAE and YOONHA JUNG residing at 407 North Avenue, in the
Borough of Fort Lee, County of Bergen and State of New Jersey, by way of Complaint against
the defendants, say:

FIRST COUNT

1. On July 1, 2019, the plaintiff, AIDEN BAE, was the driver of a certain motor
vehicle traveling southbound on the New Jersey Turnpike Interchange 18W Inside/ Entry near
Milepost 113.8 in the town of Secaucus, County of Hudson, and State of New Jersey.

2. At the time and place aforesaid, the defendants, VIRGINIA

TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names

presently unknown), were the owners of a certain motor vehicle, which was being operated with

 
 

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their permission by the defendant, JOSEPH J. CAMISA, JR.., as their agent, servant, and/or
employee traveling southbound on the New Jersey Turnpike Interchange 18W Inside/ Entry near

Milepost 113.8 in the town of Secaucus, County of Hudson, and State of New Jersey.

3. Upon information and belief at the time and place aforesaid, the defendant]
JOSEPH J. CAMISA, JR. so negligently operated his said motor vehicle in that the defendant,
JOSEPH J. CAMISA, JR., negligently failed to observe traffic as he carelessly changed lanes
from the middle lane to the left lane violently striking the plaintiffs vehicle, causing Plaintiff ta
suffer and sustain the injuries and other damages hereafter alleged.

4. As aresult of the negligence of the defendant, as hereinabove set forth, the plaintiff
was caused to sustain severe and serious injuries to his head, limbs, body and nervous system
which further caused him to suffer severe and excruciating pain, as well as extreme mental anguish
Upon information and belief, said injuries, or some of them, and the disabling effects resulting
therefrom, are permanent in nature. As a further result of said injuries, the plaintiff was required
to expend divers sums of money for medical care and attention, which was administered to him in
an attempt to cure and/or alleviate said injuries and the disabling effects resulting therefrom, and
Plaintiff, in the future, will be required to submit to further medical attention. As a further result
of said injuries, the plaintiff has been unable to perform his usual daily tasks and activities of daily
living, and has been prevented from participating in those activities enjoyed by individuals like-
situated in life, all of which has prevented him from enjoying the normal fruits of his existence,

both socially and economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants,
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION and the other fictionally
identified defendants, jointly and severally, together with costs, disbursements of suit and

interest and such other relief so deemed just by the Court.

 
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SECOND COUNT

1. Plaintiffs, AIDEN BAE and YOONHA JUNG, repeat, reiterate and re-allege each
and every allegation of the First Count as if the same were more fully set forth herein at length

2. On or about July 1, 2019, and at all times relevant hereto, the defendant, JOSEPH
J. CAMISA, JR., was operating said motor vehicle in the service of and in the course of his
employment for Defendants, VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names
being fictitious, true names presently unknown), ABC CORPORATION I-X (said names being
fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said names being
fictitious, true names presently unknown).

or As a result of the negligence, carelessness and recklessness of the defendant,
JOSEPH J. CAMISA, JR., in the operation of the aforesaid motor vehicle while in the course of
her employment and in the services of the defendants, VIRGINIA TRANSPORTATION, JOHN
DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION
I-X (said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (saia
names being fictitious, true names presently unknown), severe and serious injuries and other
damages were caused to the plaintiff, AIDEN BAE.

4. As a result of the acts of negligence, carelessness and recklessness of the defendant
JOSEPH J. CAMISA, JR., as stated above, while in the course of his employment, Defendants,
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presentl)
unknown), are liable to the plaintiff, AIDEN BAE, for the negligent and reckless acts of its agent,
servant and/or employee, Defendant, JOSEPH J. CAMISA, JR., under the doctrine of
Respondeat Superior and for all personal injuries sustained as a result of the motor vehicle collision
afore described.

5. As a result of the negligence and carelessness of the defendant(s) as hereinabove
set forth, the plaintiff, AIDEN BAE, was caused to sustain severe and serious injuries to his head

limbs, body and nervous system, which further caused him to suffer severe and excruciating pain,

 

 
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as well as extreme mental anguish. Upon information and belief, said injuries, or some of them
and the disabling effects resulting therefrom, are permanent in nature. As a further result of said
injuries, the plaintiff, AIDEN BAE, was required to expend divers sums of money for medical
care and attention, which was administered to him in an attempt to cure and/or alleviate said
injuries and the disabling effects resulting therefrom, and the plaintiff, in the future, will be
required to submit to further medical attention. As a further result of said injuries, the plaintiff
AIDEN BABE, has been unable to perform his usual daily tasks and employment, has lost income
and has been prevented from participating in those activities enjoyed by individuals like-situated
in life, all of which has prevented him from enjoying the normal fruits of his existence, both

socially and economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants,
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION and other identified
defendants, jointly and severally, together with costs, disbursements of suit and interest and such

other relief so deemed just by the Court.

THIRD COUNT

1. Plaintiff, AIDEN BAE and YOONHA JUNG, repeat, reiterate and reallege each

and every allegation set forth in the First and Second Counts of the Complaint as if more fully set

forth at length herein.
Dm On or about July 1, 2019, Defendants, VIRGINIA TRANSPORTATION, JOHN

DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION

1-X (said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said

names being fictitious, true names presently unknown), were the owners of the aforesaid motor

vehicle which they had granted and entrusted the operation of and to Defendant, JOSEPH J!

CAMISA, JR..

oF At said time and place, the defendants, VIRGINIA TRANSPORTATION, JOHN

DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION

I-X (said names being fictitious, true names presently unknown) and XY Z EMPLOYER I-X (said

names being fictitious, true names presently unknown), knew or should have known that the

 

 
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defendant, JOSEPH J. CAMISA, JR., had in the past negligently and carelessly operated motor
vehicles.

4. On or about July 1, 2019, the defendant, JOSEPH J. CAMISA, JR., operated the
above-described motor vehicle in such a careless, reckless and negligent manner in that he failed
to observe traffic as he carelessly changed lanes from the middle lane to the left lane violently
striking the rear of the plaintiff, AIDEN BAE, causing him to suffer and sustain the injuries and
other damages hereafter alleged.

Ss Upon information and belief and at all times hereinafter mentioned, the defendants,
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presentl)
unknown), or any of them, through their actions and inactions, negligently enabled Defendant
J OSEPH J. CAMISA, JR., to obtain the use of the said motor vehicle of the defendants and were
otherwise negligent in that they knew or reasonably should have known that Defendant, JOSEPH
J. CAMISA, JR., was an individual who had repeatedly improperly operated a motor vehicle.

6. Upon information and belief and at all times hereinafter mentioned, the defendants
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER J-X (said names being fictitious, true names present!)
unknown), acted with negligence and reckless disregard of the safety of the general public at large,
and the plaintiff more particularly, in enabling Defendant, JOSEPH J. CAMISA, JR,, to obtain
the use of a vehicle, an inherently dangerous instrumentality, without investigating Defendant
JOSEPH J. CAMISA, JR.’s, driving record and/or history.

7. As a direct and proximate result of the negligence, carelessness and reckless
disregard of the defendants, VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names
being fictitious, true names presently unknown), ABC CORPORATION I-X (said names being

fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said names being
fictitious, true names presently unknown), in permitting Defendant, JOSEPH J. CAMISA, JR.,

 

 
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to possess and operate said motor vehicle in the negligent manner described above, the plaintiff,
AIDEN BAE, was caused to sustain severe and serious injuries to his head, hands, limbs, body
and nervous system, which further caused him to suffer severe and excruciating pain, as well ag
extreme mental anguish. Upon information and belief, said injuries, or some of them, and the
disabling effects resulting therefrom, are permanent in nature. As a further result of said injuries,
the plaintiff, AIDEN BAE, was required to expend divers sums of money for medical care and
attention, which was administered to him in an attempt to cure and/or alleviate said injuries and
the disabling effects resulting therefrom, and the plaintiff, in the future, will be required to submit
to further medical attention. As a further result of said injuries, the plaintiff, AIDEN BAE, has
been unable to perform his usual daily tasks and employment, has lost income, and has been
prevented from participating in those activities enjoyed by individuals like-situated in life, all of
which has prevented him from enjoying the normal fruits of his existence, both socially and

economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants,
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION, ABC CORPORATION I-X
(said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said
names being fictitious, true names presently unknown), jointly and severally, together with costs,

disbursements of suit and interest and such other relief so deemed just by the Court.

FOURTH COUNT

1, Plaintiff, YOONHA JUNG, repeats, reiterates and realleges each and every

allegation set forth in the First, Second and Third Counts of this complaint as if same were more
fully set forth at length herein.

2. At all times herein above stated, the plaintiff, YOONHA JUNG, was the lawfully

wedded wife of the plaintiff, AIDEN BAE, and as such was entitled to her services, love, affection

and consortium.

 

 
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3, As a result of defendant’s negligence, Plaintiff, YOONHA JUNG, has and will in
the future be deprived of services, love, affection and consortium of the plaintiff, AIDEN BAE.
WHEREFORE, the plaintiff, YOONHA JUNG, demands judgment against the
defendants, JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION, ABC
CORPORATION I-X (said names being fictitious, true names presently unknown) and XYZ.
EMPLOYER I-X (said names being fictitious, true names presently unknown), jointly and

severally, together with costs, disbursements of suit and interest and such other relief so deemed

just by the Court.

 

 
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JURY DEMAND

Pursuant to R. 1:8-2(b), Plaintiffs hereby demands a Trial by Jury on all the issues raised

in the within Pleadings.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: February 3, 2020 BY: S17 ~
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DESIGNATION OF TRIAL COUNSEL

Pursuant to R. 4:25-4 EUNMI HWANG is designated as trial counsel.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

 

Dated: February 3, 2020 BY =
cue ri ihe, ESQ.

 

 
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NOTICE TO TAKE ORAL DEPOSITIONS

PLEASE TAKE NOTICE that in accordance with Rules of Civil Practice and
Procedure, the testimony of the defendant, JOSEPH J. CAMISA, JR., and/or person(s) having
relevant knowledge in signing answers to interrogatories on behalf of the defendant, will be
taken by deposition upon oral examination before a person selected by Plaintiff authorized by the
laws of the State of New Jersey to administer oaths on June 5, 2020, at 10:00 a.m. at the offices
of MAGGIANO, DIGIROLAMO & LIZZI, 201 Columbia Avenue, Fort Lee, New Jersey
07024, with respect to all matters relevant to the subject matter involved in this action.

MAGGIANO, DIGIROLAMO & LIZZ1I P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: February 3, 2020

 

 

 
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NOTICE TO TAKE ORAL DEPOSITIONS

PLEASE TAKE NOTICE that in accordance with Rules of Civil Practice and
Procedure, the testimony of the defendant, VIRGINIA TRANSPORTATION , and/or person(s)
having relevant knowledge in signing answers to interrogatories on behalf of the defendant, will
be taken by deposition upon oral examination before a person selected by Plaintiff authorized by
the laws of the State of New Jersey to administer oaths on June 5, 2020, at 10:00 a.m. at the
offices of MAGGIANO, DIGIROLAMO & LIZZI, 201 Columbia Avenue, Fort Lee, New
Jersey 07024, with respect to all matters relevant to the subject matter involved in this action.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: February 3, 2020

 

 

 
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DEMAND FOR ANSWERS TO INTERROGATORIES

Pursuant to R. 4:17-1(b)(2), Plaintiffs hereby demand that, in lieu of service of
interrogatories, Defendant, each provide answers to the uniform interrogatories set forth in Form
C and C(1) of Appendix IJ. Pursuant to R.4:17-4(b), Defendant shall serve answers upon Plaintifl
within sixty (60) days from the date of receipt of this Demand.

Pursuant to R. 4:17-1(b)(1), Plaintiff reserves the right to propound supplemental
interrogatories.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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ee a

   

Dated: February 3, 2020

 

 
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MAGGIANO, DiGIROLAMO & LIZZL P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

AIDEN BAE (husband) and YOONHA H LAW DIVISION: HUDSON COUNTY

JUNG (wife) : SUPERIOR COURT OF NEW JERSEY
Plaintiff, ‘

Vs. ; Docket Number: HUD-L-426-20

 

VIRGINIA TRANSPORTATION,
JOSEPH J. CAMISA, JR., JOHN DOES I-
X, (said names being fictitious, true names
presently unknown), ABC CORPORATION
I-X (said names being fictitious, true names
presently unknown), XYZ EMPLOYER I-X |:
(said names being fictitious, true names ;
presently unknown)

Civil Action

PLAINTIFFS’ FIRST DEMAND FOR
SUPPLEMENTAL INTERROGATORIES
TO DEFENDANT JOSEPH J. CAMISA,
JR.

sc 29 0 FE OD

 

 

 

Defendant(s).

 

 

 

PURSUANT to Rule 4:17-1(b)(1), Plaintiffs hereby demands Defendant, JOSEPH J. CAMISA,
JR. provide answers to the following demand for supplemental interrogatory answers within the
time prescribed by the Rules of Court.

1. Were you in the course of employment at the time of the collision complained of in
Plaintiff's complaint.

2. If so state the name and address of your employer for whom you were working at the
time of the collision complained of.

3. Please state that exact location and place from where you had come from in your moto:
vehicle and where you were intending to go.

4. State the purpose of your trip.

5. State the name of your cell phone provider for each cell phone owned by you or under

your control and possession at the time of the collision complained of July 1, 2019.

 

 
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6. For each such cell phone you owned, used or controlled at the time of the collision
complained of, please state the cell phone number assigned to each phone of the date of the
collision.

7. Please provide the primary account holder for each cellular phone above identified. ’

8. Please state if you were using your cell phone at the time of the collision complained
of either for texting or on a call.

9. Please provide all data showing you cell phone usage for the evening of July 1, 2019.

10. At the time of the subject collision did you have a cell phone on your person or in the
motor vehicle.

MAGGIANO, DIGIROLAMO & LIZZI P.C.

Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

  
  

Dated: February 3, 2020 BY: .— Ze

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CERTIFICATION

I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.

Dated: .2020 BY:

 

JOSEPH J. CAMISA, JR.

 

 
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CERTIFICATION

I hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, ] am subject to punishment
under law.

Dated: , 2020

 

VIRGINIA TRANSPORTATION

 

 
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DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

Pursuant to R. 4:10-2(b) demand is hereby made that the defendant, JOSEPH J. CAMISA,
JR, disclose to the undersigned whether there are any insurance agreements or policies undey
which any person of firm carrying on an insurance business may be liable to satisfy part or all ol
a judgment which may be entered in this action or to indemnify or reimburse for payments made
to satisfy the judgment.

This request applies also to information regarding excess, umbrella or other supplemental
insurance policies available to each defendant.

As to each policy available whether primary, excess, umbrella or otherwise supplemental
coverage, please provide the following information under oath or certification, in the space
provided: (If additional space is required, kindly attach a rider to this demand) (a) number (b) name
and address of insurer or issuer (c) inception and expiration dates (d) names and addresses of all
persons insured thereunder (e) personal injury limits (f) property damage limits (g) medical
payment limits (h) name and address of person who has custody and possession thereof (i) where
and when each policy or agreement can be inspected and copied.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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ae LAF ad
Dated: February 3, 2020 BY: GY / G
“EU Pea AN 4 ESQ.

 

 
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CERTIFICATION

I hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, I am subject to punishment

under law.

Dated: , 2020 __
JOSEPH J. CAMISA, JR.

 

 
 

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DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

Pursuant to R. 4:10-2(b) demand is hereby made that the defendant, VIRGINIA
TRANSPORTATION, disclose to the undersigned whether there are any insurance agreements
or policies under which any person of firm carrying on an insurance business may be liable to
satisfy part or all of a judgment which may be entered in this action or to indemnify or reimburs¢
for payments made to satisfy the judgment.

This request applies also to information regarding excess, umbrella or other supplemental
insurance policies available to each defendant.

As to each policy available whether primary, excess, umbrella or otherwise supplemental
coverage, please provide the following information under oath or certification, in the spacq
provided: (If additional space is required, kindly attach a rider to this demand) (a) number (b) nama
and address of insurer or issuer (c) inception and expiration dates (d) names and addresses of all
persons insured thereunder (e) personal injury limits (f) property damage limits (g) medical
payment limits (h) name and address of person who has custody and possession thereof (i) where
and when each policy or agreement can be inspected and copied.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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HEL i = 2
Dated: February 3, 2020 BYS7 | A fF

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‘Wunivn WANG, ESQ.

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CERTIFICATION

I hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, ] am subject to punishment

under law.

Dated: . 2020

 

VIRGINIA TRANSPORTATION

 

 
 

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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

 

AIDEN BAE (husband) and YOONHA M LAW DIVISION: HUDSON COUNTY

JUNG (wife) : SUPERIOR COURT OF NEW JERSEY
Plaintiff, :

Vs. ' Docket Number: HUD-L-426-20

VIRGINIA TRANSPORTATION, : Civil Acti
JOSEPH J. CAMISA, JR., JOHN DOES I- | Ph BCHION
IX, (said names being fictitious, true names ’
presently unknown), ABC CORPORATION).
I-X (said names being fictitious, true names |;
presently unknown), XYZ EMPLOYER I-X|:
(said names being fictitious, true names
presently unknown)

PLAINTIFF’S
STATEMENT OF DAMAGES

 

 

 

Defendant(s).

 

 

Pursuant to Rule 4:5-2, the following is the amount of damages claimed in the above
entitled action.
$1,000,000.00
MAGGIANO, DIGIROLAMO & LIZZI P.C.

Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: February 3, 2020

 

 
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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

 

AIDEN BAE (husband) and YOONHA |) SUPERIOR COURT OF NEW JERSEY
JUNG (wife) : ILAW DIVISION: HUDSON COUNTY
bic Plaintiff, * IDOCKET NO.: HUD-L-426-20

VIRGINIA TRANSPORTATION, " Civil Action
JOSEPH J. CAMISA, JR., JOHN DOES I- |:
X, (said names being fictitious, true names '
presently unknown), ABC CORPORATION\. DEMAND FOR

I-X (said names being fictitious, true names |; PRODUCTION OF DOCUMENTS
presently unknown), XYZ EMPLOYER I-X}:
(said names being fictitious, true names
presently unknown)

 

 

 

 

Defendant(s).

 

PLEASE TAKE NOTICE that in accordance with the R. 4:18-1 of the Rules Governing
the Courts of the State of New Jersey, Plaintiff, AIDEN BAE, hereby requests that Defendant,
JOSEPH J. CAMISA, produce within thirty (30) days of receipt hereof, copies of the documents
described herein and deliver same to the offices of Maggiano, DiGirolamo & Lizzi, P.C., 201
Columbia Avenue, Fort Lee, NJ 07024.

DEFINITIONS AND INSTRUCTIONS

A. These requests are intended to be continuing and you are instructed to make prompt,
further and supplemental production whenever an additional document is discovered responsive
hereto.

B. If any document called for by these requests is withheld on the ground that it is
privileged, constitutes attorney work product, or is for any other reason exempt from discovery,
set forth the ground or grounds for withholding such document, its present location and custodian
and such additional information as may be required to enable it to be identified and to enable the
Court to adjudicate the propriety of the withholding, including bul not limited to the type of
documents, its date, author(s), addressee(s), if different its recipient(s), and its general subject
matter.

 

 
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C. Documents produced in response to these requests shall be produced in such a
manner so as to identify the specific request to which they relate.

D. As used herein, the term "document" means, by way of illustration and not by way
of limitation, the following items, whether printed or records or reproduced by any other
mechanical process, written produced by hand, produced or stored in a computer, regardless ol
origin or location: books, records, communications, reports, correspondence, letters, telegrams,
memoranda, summaries or records of telephone conversations, summaries or records of personal
conversations or interviews, applications, booklets, brochures, catalogues, circulars, magazines]
pamphlets, periodicals, bulletins, instructions, minutes, other communications (including, but not
limited to, inter- and intra-office communications), purchase orders, bills of lading, bid tabulations}
questionnaires, surveys, contracts, agreements, options to purchase, memoranda of agreements]
licenses, books of account, orders invoices, statements, bills, checks, vouchers, ledger sheets,
accounts, journals, canceled checks, bank statements, bank passbooks, confirmations, statements
of accounts, analysis, diaries, graphs, notebooks, charts, tables, working papers, plans, indices]
summaries or records of meetings or conferences, summaries or reports of investigations or
negotiations, opinions or reports of accountants or consultants, data sheets, data processing cards,
photographs, photographic negatives, phono-records, tape recordings, discs, wire recordings,
transcripts of recordings, drawings, motion picture film, advertisements, press releases, drafts, and
marginal comments appearing on any such documents, all other written or printed matter of any
kind or any other and all other data compilations from which information can be obtained and
translated if necessary.

E. As used herein, the term, "person" means an individual, firm, partnership
corporation, proprietorship, association, governmental body, or any other organization or entity.

F, As used herein, any term in the singular shall be deemed to include the plural where
appropriate and vice versa.

G. As used herein, all terms including "and" and "or" shall be construed either
conjunctively or disjunctively as required by the context to include the response any document that
might be deemed nonresponsive by any other construction.

H. As used herein, "communication" means any written or verbal communication o1
other statement from one person to another, including, but not limited to, any letter, interview,
conference, meeting or telephone conversation.

DOCUMENTS TO BE PRODUCED:
Trucking Company Defendant, Virginia Transportation
1. Copies of any and all Record of Duty Status/Drivers Logs for the date of the
accident, the six (6) months before the subject accident, and the two (2) weeks after the subject

accident.

2. Copies of any and all Bills of Lading for the date of the accident, six (6) months
prior to the subject accident, and the two (2) weeks after the subject accident.

 

 
 

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3. Copies of any and all trip records for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

4, Copies of any and all loading and unloading records for the date of the accident)
the two (2) months before the subject accident, and the two months (2) after the subject accident.

a Copies of any and all detention records for the date of the accident, the two (2
months before the subject accident, and the two months (2) after the subject accident.

6. Copies of any and all freight bills for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

7. Copies of any and all written instructions for the date of the accident, the two (2)
months before the subject accident, and the two months (2) after the subject accident.

8. Copies of any and all dispatch records, written or electronic, for the date of the
accident, the two (2) months before the subject accident, and the two months (2) after the subject
accident.

9. Copies of any and all gas receipts for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

10. Copies of any and all trip expenses, including but not limited to toll receipts, hote]
or motel receipts, food receipts, maintenance and repair receipts, for the date of the accident, the
two (2) months before the subject accident, and the two months (2) after the subject accident.

11. Copies of any and all cell phone records for all cell phones owned and/or used by
the defendant commercial truck driver for the date of the accident, the two (2) weeks before the
subject accident, and the two weeks (2) after the subject accident.

12. Copies of any and all electronic communications between the defendant
commercial truck driver and the defendant truck owner sent electronically through a Qualeom,
Comdata, or similar electronic log system for the date of the accident, the two (2) weeks before
the subject accident, and the two weeks (2) after the subject accident.

13. Pursuant to Part 396 of the Federal Motor Carrier Safety Regulations
(FMCSRs), copies of any and all inspection records for the subject tractor-trailer and/or
commercial vehicle for a period commencing six (6) months prior to the date of the accident, up
to and including one month after the subject accident.

14. Copies of any and all maintenance records for the subject tractor-trailer and/o1
commercial vehicle for a period commencing one year prior to the date of the accident, up to and
including six (6) months after the subject accident.

15. Copies of any and all repair records for the subject tractor-trailer and/or commercial
vehicle for a period commencing six (6) months prior to the date of the accident, up to and
including one (1) month after the subject accident.

 
 

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16. Copies of any and all Driver Vehicle Inspection Reports for a period commencing!
twelve (12) months prior to the date of the accident, up to and including three (3) months after the
subject accident.

17. Copies of any and all commercial driver’s licenses held by the defendant truck
driver within the past five (5) years.

18. Pursuant to FMCSR Part 391.51, a full and complete copy of the defendant drivers
Driver Qualification file.

19. | A Copy of any and all Medical Examination Reports for Commercial Driver Fitness
Determination for the defendant driver.

20. A list of violations or the certificate required by FMCSR 392.27, provided by the
defendant driver to the defendant trucking company.

21. Copies of the defendant driver’s annual review reports for the years within the last
five (5) years.
22. Copies of any and all accident reports for accident involving the defendant driver

for a period commencing within the last five (5) years. [FMCSR Sec. 390.30; FMCSR Sec,
391.51(b)(5)]

23. A copy of any correspondence(s) or items relating to the defendant driver’s ability
to drive a motor vehicle safely within the last seven (7) years, including, but not limited to, letters
of warning, and records of disciplinary actions. [FMCSR Sec. 391.51(b)(5)].

24, A copy of the records pertaining to the defendant driver’s training, including, but
not limited to, curriculum covering safe operating practices, such as: visual search, speed
management, space management, night operations, hazard perception and emergency maneuvers,
[FMCSR Sec. 391.51]

25. Copies of the following items for the date of incident, the six (6) months prior and
the six (6) months after the accident:
a. USDOT Safety Fitness Ratings of the Defendant.

b. Copies of all USDOT Safety Compliance Audits of the Defendant.

c. All fuel tax reports of the Defendant.

d. All state safety audits of the Defendant.

e. All federal accident reports filed by the Defendant.

f. All USDOT and State inspection reports of the Defendant.

g. All USDOT and State inspections of the tractor involved in the crash.

26. A copy of any and all recordings made from any flight box recorder(s) and/or black

box(s) from the date of the accident, one (1) week prior and one (1) week after the accident.

27. A copy of the defendant driver’s employment and personnel file.

 
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28. | Acopy of any and all commercial trucking licenses for the defendant driver for the
two years prior to the subject accident and until the present.

29. A copy of al] maintenance records for the vehicle driven by the defendant at the
time of the accident.

30. A copy of any and all records pertaining to and regarding any pick-ups, drop-offs)
stops, any and all routes for the vehicle driven by the defendant on the date of and the two (2)
weeks prior to the subject accident.

31. Acopy of any and all contracts related to any pick-ups, drop-offs, and/or stops that
the defendant driver made on the date of the subject accident, as well as the two (2) weeks prio1
and the two (2) weeks after the accident.

32. | Acopy of any and all records from any and all weight measurements for the vehicle
driven by the defendant on the date of the accident, the two (2) weeks prior to the date of the
accident, and the two (2) weeks after the accident.

33. | Acopy of any and all contracts if the defendant driver was driving to a job in which
there had been a contractual agreement.

34, A copy of any and all dash-cam video and/or audio form the date of the accident.

35. | A-copy of any and all Statements given by the defendant to the insurance carrier
regarding the incident which forms the basis of this litigation.

36. | Acopy of the defendant driver’s qualification file, including, but not limited to:

37. A copy of the defendant driver’s application for employment;

38. | Acopy of any and all medical examination reports;

39. A copy of any and all medical examiner’s certificates;

40. A copy of any and all record & certificate of road test;

4}. MVR for every year the defendant driver was employed by your company;

42. A copy of any and all records for violations;

43. | A copy of any and annual review certificates;

44.  Acopy of employment eligibility verification forms and documents;

45. A photo static copy of the defendant driver’s commercial driver’s license.

46. Accopy of the defendant driver’s security information file, including, but not limited

to:
47. Previous employer checks;
48, Criminal background history and documents;
49. Documents related to the release of Drug & Alcohol Screens

50. | A copy of the defendant driver’s drug and alcohol file:

51: Pre-employment drug and alcohol screening results and documents;

 

 
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52. Copies of pre-accident drug & alcohol screening results and documents;
54). Copies of post-accident drug & alcohol screening results and documents.

54. | A copy of any and all onboard monitoring device data, including data from GPS
satellite positioning and messages to/from the vehicle to the company.

55. | Acopy of the ECM (Electronic control Module) data report from the week prior to
the accident and the date of the accident.

56. A copy of any and all Toll Tickets/Receipts for the date of the accident and the
three (3) months prior.

57. A copy of any and any all company policies & procedures in place at the time ol
the accident. This includes, but is not limited to, manuals, memos, emails, and bulletins.

58. | Acopy of any and all employee handbooks in place at the time of the accident, the
two years prior, and the two years after.

59. A copy of any and all records related to the installation, repair, maintenance, and/61
upkeep of the brakes, as well as the braking system(s), for the vehicle involved in the accident.

60. A copy of any and all Employee personnel files for JOSEPH J. CAMISA, JR.
61. Acopy of any and all documents you may rely on at the time trial.

62. A copy of any and all statements made by the owner as well as employees of
VIRGINIA TRANSPORTATION made to an insurance carrier.

63. The copy of any and all payroll records for JOSEPH J. CAMISA, JR., for the
month before, the week of, and the month after the accident.

64. | A copy of any and all report forms provided to any insurance companies.

65. | Acopy of any and all repair bills and estimates for damage occurring as result of
the accident.

66. A copy of any and all photographs for any damage occurring as a result of the
accident. Please provide them in color.

67. | Acopy of any and all drivers abstracts for driver JOSEPH J. CAMISA, JR.

68. A copy of any and all documents related to the deliveries that were made by
JOSEPH J. CAMISA for the day before, the day of, and the day after the accident.

69. A copy of any and all bills of lading for the trips taken by JOSEPH J. CAMISA,
JR. for the week before, the day of, and the week after the accident.

 

 
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70. A-copy of any and all time sheets for JOSEPH J. CAMISA for the week before]
the day of, and the week after the accident.

71. A copy of any and all insurance policies in effect at the time of the accident for
VIRGINIA TRANSPORTATION.

72. Acopy of any and all certificates of insurance in your possession for the last seven
(7) years for VIRGINIA TRANSPORTATION.

General Negligence/All Cases

IF All captions and docket numbers of every action this Defendant has ever been a
party to, including pending actions.

Dn Any and all written statements, as well as oral statements reduced to writing, of all
Plaintiffs).
3. Any and all written statements, as well as oral statements, reduced to wriling

provided by Defendant, and/or his agents, servants or employees to any adjuster for the
Defendant’s insurance company in accordance with Pfender v. Torres 336 N.J. Super, 379.

4. Any and all written statements, as well as oral statements, reduced to writing of any
and all other parties to this action.

5, Any and all written statements, as well as oral statements, reduced to writing of any’
and all agents, servants and employees of this Defendant, which in any way involve and/or discuss
the Plaintiff(s), and/or the subject incident in accordance with Pfender v. Torres 336 N.J. Super,
379.

6. Any and all written statements, or oral statements, reduced to writing of any and all
witnesses to any aspects of the incident complained of, as wel] as of any aspects of Plaintiff's
claims in accordance with Dinter v. Sears, Roebuck & Co., 52 N.J. Super 84 (App. Div. 1991).

ie Any and all Central Index Bureau and/or Index System Reports regarding tha
Plaintiff.
8. Copies of all videos, photographs, motion pictures, charts, sketches, illustrations,

diagrams and/or pictures relating to the incident complained of, as well as any and all aspects of
Plaintiffs claim.

9. Copy of this Defendant’s “filed” Answer.
10. Copies of any and all subpoenas served by this Defendant in this matter.

11. Copies of all documents and any other information obtained through subpoenas,
and/or medical authorizations signed by the Plaintiffs.

 

 
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12. Copies of all documents and any other information obtained from any of Plaintiffs
medical providers, acquired by way of subpoena(es) and/or medical authorization(s), or by any
other means.

13. Copies of all discovery propounded upon all other parties (other than the Plaintiffs),
14. Copies of all discovery received from all other parties (other than the Plaintiffs).

15. | Copies of any and all written reports and/or oral reports reduced to writing, which
in any way concerns the subject incident, and/or any and all claims of the Plaintiff, made to/by a
police official/department and/or any governmental authority.

16. Any and all photographs, charts, drawings, motion pictures, videos and/o1
surveillance reports of the Plaintiff(s).

17, Copy of the Curriculum Vitae of each proposed expert witness of this Defendant.

18. The name and address and title of each agent, servant and/or employee of any and
all of Defendant’s medical experts who were are present during any and all examinations and/oy
interviews or any other aspects of defense medical/psychiatric IME’s of the Plaintiff.

19. Any and all intake sheets, patient questionnaire forms or other documents filled out
and/or completed or drafted pursuant to any and all defense examinations of the Plaintiff, taken 0:
to be taken in this matter.

20. Clear and complete copies of any and all reports of any and all defense experts,
whether or not intended to be called at the time of trial.

21. Pursuant to R. 4:17-4(c), copies of Answers to this Defendant’s Interrogatories by)
all other parties.

22. Any and all correspondence, as well as oral communications reduced to writing,
between this Defendant and any other party to this action.

23. Any and all written reports or oral reports reduced to writing that include whether
Defendant or anyone on behalf of this Defendant has knowledge of any other personal injury)
claim(s) or lawsuit(s) made by the Plaintiff(s), either prior to or subsequent to the date of the
incident complained of, and attach a copy of all written documents relating thereto that are in the
possession of this Defendant.

24. Any and all documents regarding, or relating to any other injuries, illnesses,
medical conditions and/or psychiatric conditions sustained by the Plaintiff(s), whether before o1
after the date of the incident complained of.

25. Any and all documents in your possession, custody and/or control that refer, 01
relate in any way to reservation of rights from this Defendant’s insurance company.

 

 
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26. Any and all documents, including but not limited 1o, incident reports, photographs,
tape recordings, films, videotapes, motion pictures, diagrams and/or sketches in your possession
custody and/or control that refer or relate in any way to circumstances surrounding the subject
incident.

27. Any and all documents, including but not limited to, photographs, videos, films,
diagrams and/or sketches in your possession, custody and/or contro] that refer or relate in any way
to Plaintiff's physical condition on, or after the date of the incident complained of.

28. Any and all written reports and/or oral reports reduced to writing of the subject
incident and/or circumstances relating to the subject incident, made by this Defendant and/or ta
this Defendant and/or by any servant, agent and/or employee of this Defendant, and/or to any’
servant, agent and/or employee of this Defendant.

29. | Name and address of each agent, servant and/or employee of this Defendant and/o1
of Defendant’s insurance company and/or insurance broker and/or insurance agent, spoke with}
Defendant, JOSEPH J. CAMISA, JR. at any time since the moment of the incident complained
of, and the dates and time of said conversations, and whether or not said conversation(s) were in
person or over the telephone, and who initiated the call or contact, and how this person received
notice of the said incident.

30. True copies of any and all investigative reports pertaining to the subject incident.
31. Any and all incident and/or accident, and/or injury reports, filed, made or drafied
by or on behalf of this Defendant, and/or received by this Defendant, as a result of the (D/A)

incident complained of.

32. Any and all records, reports, and/or other documents upon which this Defendanyj
will rely upon at the time of trial.

Automobile Negligence Cases

1. Any and all photographs, and/or videotapes depicting this Defendant’s vehicle on
and since the incident of July 1, 2019.

2. . Any and all photographs, and/or videotapes depicting any other vehicles involved
in the subject collision of July 1, 2019.

3. Any and all photographs, and/or videotapes depicting damage to any tangible
property as a result of the collision of July 1, 2019.

4. Any and all photographs, videotapes, sketches, drawings, blueprints, and/o1
diagrams of the subject collision scene.

5. Any and all photographs, and/or videotapes depicting the Plaintiff's vehicle since
the collision of July 1, 2019.

 

 
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6. Any and all invoices, estimates and/or repair bills setting forth the damages and
repairs to Plaintiff's vehicle as a result of the subject auto accident.

7. Copy of front and back of this Defendant’s Driver’s License (if defendant/driver|
otherwise get front and back of defendant/driver’s license).

8. Copy of this defendant’s automobile insurance policy, as well as any excess
insurance policies and umbrella policies, relevant to the subject collision.

9. Copies of any and all written reports and/or oral reports reduced to writing of the
subject incident, made to/by the police department and/or any governmental! authority.

10. Any and all employment contracts and/or commission contracts and/or any other
business contracts between this Defendant, and any Co-Defendant, VIRGINIA
TRANSPORTATION, which existed and/or was in effect at the time of this incident July 1, 2019

11. Names and current addresses of all occupants to this Defendant’s vehicle at the time
of the subject collision.

12. | Name and address of the individual(s) who last inspected this Defendant’s vehicle
prior to the subject collision, whether by a governmental authority or by an agent, servant and/or
employee of this Defendant (e.g., daily inspections prior to operation).

13. © CELL PHONE RECORD PRODUCTION: Defendant is required to produce a tue
copy of all cell phone calls made and received for the five-hour time period covering before and
after the subject incident complained of in the complaint in addition to all records of text messaging
received and made during such time period.

14. Defendants are to produce all records showing the name and address of all cell phone
providers as well as the cell phone numbers listed to each defendant covering the date of the
incident complained of.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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at \ > a j
Dated: February 3, 2020 BY: oy} SIT (ws
EUNMI HWANG, ESQ.

 

 
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HUDSON COUNTY SUPERIOR COURT
HUDSON COUNTY
583 NEWARK AVENUE
JERSEY CITY NJ 07306
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 748-4400
COURT HOURS 8:30 AM - 4:30 PM

DATE: JANUARY 29, 2020
RE: BAE AIDEN VS CAMISA, JR. JOSEPH
DOCKET: HUD L -000426 20

THE ABOVE CASE HAS BEEN ASSIGNED TO: TRACK 2.

DISCOVERY IS 300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

THE PRETRIAL JUDGE ASSIGNED IS: HON JOSEPH V. ISABELLA

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 001
AT: (201) 748-4400.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
ATTENTION:
ATT: EUNMI HWANG
& LIZZI P C. MAGGIANO DIGIROLA

201 COLUMBIA AVE
FORT LEE NJ 07024

ECOURTS
Case 2:20-cv-02354-CCC-ESK Document1 Filed 03/04/20 Page 39 of 73 PagelD: 39

EXHIBIT
Case, 2:20-cv-02354-CCC-ESK Document 1 Filed 03/04/20 Page 40 “A A

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MAGGTANO, BIGIROLAMO 4 1221, F.C,
SUPERIOR COURT OF NEW JERSEY LAW DIVISTON HUDSON COUNTY

(HUSBAND) AND YOONHA JUNG (WIFE) index No. HUD-~L-000426-26
PLAINTIFE Date Filed

~ ve - File No. 5350-mMpL

SINTA TRANSPORTATION, ET AL Court Date:
DEEENDANT AFFIDAVIT OF SERVICE

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NOTICE TO TAKE ORAL DEPOSTTIONS , DEMAND FOR
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“ANSHERS TO INTERROGATORIES | DEMAND FOR CERTIFY 1
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LINDA G HUGHES
NOTARY PUBLIC ID §1407
STATE OF RHODE ISLAND
MY COMMISSION EXPIRES APRIL 29, 2020

   

   

 

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Reference
Case 220-0v.02854-CCC-£SK Document Fled 004/20 Page 41.01 agai ay
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a?

AIDEN BAE (HUSBAND) AND YOONHA JUNG (WIFE)

PLAINTIFF

—- vs -

VIRGINIA TRANSPORTATION, ET AL

DEFENDANT

Person to be Served
JOSEPH J. CAMISA, JR
13 MARUDY DRIVE
CLINTON, NJ 08809

Papers Served;

SUPERIOR COURT OF NEW JERSEY LAW
DIVISION HUDSON COUNTY
Decket No. HUD-L-000426-20

AFFIDAVIT OF SERVICE
(For Use By Private Service)

SUMMONS, FIRST AMENDED COMPLAINT JURY DEMAND, NOTICE TO TAKE ORAL DEPOSITIONS,

DEMAND FOR ANSWERS TO INTERROGATORIES, DEMAND FOR CERTIFICATION OF INSURANCE COVERAGE AND CIVIL

INFORMATION STATEMENT (CIS)
Service Data:
Served Successfully _X_ Not Served

X Delivered a copy to him/her personally

Left a copy with a competent household
member of over 14 years of age residing
therein.

Left a copy with a person authorized to
accept service, @€.¢. managing agent,
registered agent, etc.

Description of Person Accepting Service:
SEX: MALE COLOR: WHITE HAIR: BLACK/BALD
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Comments Or Remarks:

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Name of person served and relationship / title:
JOSEPH J. CAMISA, JR
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dient File Number: 5350-MDL

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2333 U.S. Hwy 22 West
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908-686-7300
Case 2:20-cv-02354-CCC-ESK Document1 Filed 03/04/20 Page 42 of 73 PagelD: 42

EXHIBIT
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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

Civil Action
VIRGINIA TRANSPORTATION, JOSEPH
J. CAMISA, JR., JOHN DOES I-X, (said =) COMPLAINT, JURY DEMAND, NOTICE
names being fictitious, true names presently — ) TO TAKE ORAL DEPOSITIONS,
unknown), ABC CORPORATION I-X (said) DEMAND FOR ANSWERS TO
names being fictitious, true names presently ) INTERROGATORIES, DEMAND FOR
unknown), XYZ EMPLOYER I-X (said CERTIFICATION OF INSURANCE
names being fictitious, true names presently COVERAGE AND CIVIL
unknown) INFORMATION STATEMENT (CIS)

)

) LAW DIVISION: HUDSON COUNTY
AIDEN BAE (husband) and YOONHA )} SUPERIOR COURT OF NEW JERSEY
JUNG (wife) )

Plaintiff, ) Docket Number: HUD-L-

Vs, )

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Defendant(s).
)

Plaintiff, AIDEN BAE and YOONHA JUNG residing at 407 North Avenue, in the
Borough of Fort Lee, County of Bergen and State of New Jersey, by way of Complaint against
the defendants, say:

FIRST COUNT.

1. On July 1, 2019, the plaintiff, AIDEN BAKE, was the driver of a certain motor
vehicle traveling southbound on the New Jersey Turnpike Interstate 18W JE in the Borough of
Carlstadt and State of New Jersey.

2. At the time and place aforesaid, the defendants, VIRGINIA
TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names presently
unknown), ABC CORPORATION I-X (said names being fictitious, true names presently
unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presently

unknown), were the owners of a certain motor vehicle, which was being operated with their

 

 
 

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permission by the defendant, JOSEPH J. CAMISA, JR., as their agent, servant, and/or
employee traveling southbound on the New Jersey Turnpike Interstate 18W IE in the Borough of
Carlstadt and State of New Jersey.

3. Upon information and belief at the time and place aforesaid, the defendant]
JOSEPH J. CAMISA, JR. so negligently operated his said motor vehicle in that the defendant
JOSEPH J. CAMISA, JR., negligently failed to observe traffic as he carelessly changed lanes
from the middle lane to the left lane violently striking the plaintiff's vehicle, causing Plaintiff to
suffer and sustain the injuries and other damages hereafter alleged.

4. As a result of the negligence of the defendant, as hereinabove set forth, the plaintiff
was caused to sustain severe and serious injuries to his head, limbs, body and nervous system,
which further caused him to suffer severe and excruciating pain, as well as extreme mental anguish!
Upon information and belief, said injuries, or some of them, and the disabling effects resulting
therefrom, are permanent in nature. As a further result of said injuries, the plaintiff was required
to expend divers sums of money for medical care and attention, which was administered to him in
an attempt to cure and/or alleviate said injuries and the disabling effects resulting therefrom, and
Plaintiff, in the future, will be required to submit to further medical attention. As a further result
of said injuries, the plaintiff has been unable to perform his usual daily tasks and activities of daily
living, and has been prevented from participating in those activities enjoyed by individuals like-
situated in life, all of which has prevented him from enjoying the normal fruits of his existence,

both socially and economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants,
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION and the other fictionally
identified defendants, jointly and severally, together with costs, disbursements of suit and

interest and such other relief so deemed just by the Court.

 
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SECOND COUNT

1. Plaintiffs, AIDEN BAE and YOONHA JUNG, repeat, reiterate and re-allege each
and every allegation of the First Count as if the same were more fully set forth herein at length

2. On or about July 1, 2019, and at all times relevant hereto, the defendant, JOSEPH]
J. CAMISA, JR., was operating said motor vehicle in the service of and in the course of his
employment for Defendants, VIRGINIA TRANSPORTATION, JOHN DOES I-X (said ames
being fictitious, true names presently unknown), ABC CORPORATION I-X (said names being
fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said names being
fictitious, true names presently unknown).

3. As a result of the negligence, carelessness and recklessness of the defendant,
JOSEPH J. CAMISA, JR., in the operation of the aforesaid motor vehicle while in the course of
her employment and in the services of the defendants, VIRGINIA TRANSPORTATION, JOHN
DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION
I-X (said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said
names being fictitious, true names presently unknown), severe and serious injuries and othe:
damages were caused to the plaintiff, AIDEN BAF.

4. As a result of the acts of negligence, carelessness and recklessness of the defendant
JOSEPH J. CAMISA, JR., as stated above, while in the course of his employment, Defendants}
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presenils
unknown), are liable to the plaintiff, AIDEN BAE, for the negligent and reckless acts of its agent
servant and/or employee, Defendant, JOSEPH J. CAMISA, JR., under the doctrine ol
Respondeat Superior and for all personal injuries sustained as a result of the motor vehicle collision
afore described.

5. As a result of the negligence and carelessness of the defendant(s) as hereinabove
set forth, the plaintiff, AIDEN BARE, was caused to sustain severe and serious injuries to his head,

limbs, body and nervous system, which further caused him to suffer severe and excruciating pain,

 

 
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as well as extreme mental anguish. Upon information and belief, said injuries, or some of them
and the disabling effects resulting therefrom, are permanent in nature. As a further result of said
injuries, the plaintiff, AIDEN BAE, was required to expend divers sums of money for medical
care and attention, which was administered to him in an attempt to cure and/or alleviate said
injuries and the disabling effects resulting therefrom, and the plaintiff, in the future, will be
required to submit to further medical attention. As a further result of said injuries, the plaintiff,
AIDEN BAKE, has been unable to perform his usual daily tasks and employment, has lost income
and has been prevented from participating in those activities enjoyed by individuals like-situated
in life, all of which has prevented him from enjoying the normal fruits of his existence, both

socially and economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants,
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION and other identified
defendants, jointly and severally, together with costs, disbursements of suit and interest and such

other relief so deemed just by the Court.

THIRD COUNT

1. Plaintiff, AIDEN BAE and YOONHA JUNG, repeat, reiterate and reallege each}

and every allegation set forth in the First and Second Counts of the Complaint as if more fully set
forth at length herein.
Dn On or about July 1, 2019, Defendants, VIRGINIA TRANSPORTATION, JOHN

DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION
I-X (said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said
names being fictitious, true names presently unknown), were the owners of the aforesaid motor
vehicle which they had granted and entrusted the operation of and to Defendant, JOSEPH J.
CAMISA, JR..
3. At said time and place, the defendants, VIRGINIA TRANSPORTATION, JO HN

DOES I-X (said names being fictitious, true names presently unknown), ABC CORPORATION
I-X (said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said

names being fictitious, true names presently unknown), knew or should have known that the

 

 
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defendant, JOSEPH J. CAMISA, JR., had in the past negligently and carelessly operated motor
vehicles.

4. On or about July 1, 2019, the defendant, JOSEPH J. CAMISA, JR., operated the
above-described motor vehicle in such a careless, reckless and negligent manner in that he failed
to observe traffic as he carelessly changed lanes from the middle lane to the left lane violently
striking the rear of the plaintiff, AIDEN BAE, causing him to suffer and sustain the injuries and
other damages hereafter alleged.

5. Upon information and belief and at all times hereinafter mentioned, the defendants,
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true. names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presently
unknown), or any of them, through their actions and inactions, negligently enabled Defendant,
JOSEPH J. CAMISA, JR., to obtain the use of the said motor vehicle of the defendants and were
otherwise negligent in that they knew or reasonably should have known that Defendant, JOSEPH]
J. CAMISA, JR., was an individual who had repeatedly improperly operated a motor vehicle.

6. Upon information and belief and at all times hereinafter mentioned, the defendants,
VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names being fictitious, true names
presently unknown), ABC CORPORATION I-X (said names being fictitious, true names
presently unknown) and XYZ EMPLOYER I-X (said names being fictitious, true names presently
unknown), acted with negligence and reckless disregard of the safety of the general public at large,
and the plaintiff more particularly, in enabling Defendant, JOSEPH J. CAMISA, JR., to obtain
the use of a vehicle, an inherently dangerous instrumentality, without investigating Defendant,
JOSEPH J. CAMISA, JR.’s, driving record and/or history.

7. As a direct and proximate result of the negligence, carelessness and reckless
disregard of the defendants, VIRGINIA TRANSPORTATION, JOHN DOES I-X (said names
being fictitious, true names presently unknown), ABC CORPORATION I-X (said names being
fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said names being
fictitious, true names presently unknown), in permitting Defendant, JOSEPH J. CAMISA, JR.,

 

 
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to possess and operate said motor vehicle in the negligent manner described above, the plaintiff,
AIDEN BAE, was caused to sustain severe and serious injuries to his head, hands, limbs, body
and nervous system, which further caused him to suffer severe and excruciating pain, as well as
extreme mental anguish. Upon information and belief, said injuries, or some of them, and the
disabling effects resulting therefrom, are permanent in nature. As a further result of said injuries,
the plaintiff, AIDEN BAE, was required to expend divers sums of money for medical care and
attention, which was administered to him in an attempt to cure and/or alleviate said injuries and
the disabling effects resulting therefrom, and the plaintiff, in the future, will be required to submifl
to further medical attention. As a further result of said injuries, the plaintiff, AIDEN BAE, has
been unable to perform his usual daily tasks and employment, has lost income, and has been
prevented from participating in those activities enjoyed by individuals like-situated in life, all of
which has prevented him from enjoying the normal fruits of his existence, both socially and

economically, and he was otherwise damaged.

WHEREFORE, the plaintiff, AIDEN BAE, demands judgment against the defendants, °
JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION, ABC CORPORATION I-X
(said names being fictitious, true names presently unknown) and XYZ EMPLOYER I-X (said
names being fictitious, true names presently unknown), jointly and severally, together with costs,

disbursements of suit and interest and such other relief so deemed just by the Court.

FOURTH COUNT
1. Plaintiff, YOONHA JUNG, repeats, reiterates and realleges each and every
allegation set forth in the First, Second and Third Counts of this complaint as if same were more
fully set forth at length herein.
2. At all times herein above stated, the plaintiff, YOONHA JUNG, was the lawfully;
wedded wife of the plaintiff, AIDEN BAE, and as such was entitled to her services, love, affection

and consortium.

 

 
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3. As a result of defendant’s negligence, Plaintiff, YOONHA JUNG, has and will in
the future be deprived of services, love, affection and consortium of the plaintiff, AIDEN BAE.

WHEREFORE, the plaintiff, YOONHA JUNG, demands judgment against the
defendants, JOSEPH J. CAMISA, JR., VIRGINIA TRANSPORTATION, ABC
CORPORATION I-X (said names being fictitious, true names presently unknown) and XYZ
EMPLOYER I-X (said names being fictitious, true names presently unknown), jointly and
severally, together with costs, disbursements of suit and interest and such other relief so deemed

just by the Court.

 

 
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JURY DEMAND

Pursuant to R. 1:8-2(b), Plaintiffs hereby demands a Trial by Jury on all the issues raised
in the within Pleadings.
MAGGIANO, DIGIROLAMO & LIZZI P.C.

Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: January 29, 2020 BY: # 5
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DESIGNATION OF TRIAL COUNSEL

 

Pursuant to R. 4:25-4 MICHAEL MAGGIANDO is designated as trial counsel.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Dated: January 29, 2020

 

 

 
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NOTICE TO TAKE ORAL DEPOSITIONS

PLEASE TAKE NOTICE that in accordance with Rules of Civil Practice and
Procedure, the testimony of the defendant, JOSEPH J. CAMISA, JR., and/or person(s) having
relevant knowledge in signing answers to interrogatories on behalf of the defendant, will be
taken by deposition upon oral examination before a person selected by Plaintiff authorized by the
laws of the State of New Jersey to administer oaths on June 5, 2020, at 10:00 a.m. at the offices
of MAGGIANO, DIGIROLAMO & LIZZI, 201 Columbia Avenue, Fort Lee, New Jersey
07024, with respect to all matters relevant to the subject matter involved in this action.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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Dated: January 29, 2020 BY: oo ty
EUNMIFIEWANG, ESQ.

 

 
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NOTICE TO TAKE ORAL DEPOSITIONS

PLEASE TAKE NOTICE that in accordance with Rules of Civil Practice and
Procedure, the testimony of the defendant, VIRGINIA TRANSPORTATION , and/or person(s)
having relevant knowledge in signing answers to interrogatories on behalf of the defendant, will
be taken by deposition upon oral examination before a person selected by Plaintiff authorized by
the laws of the State of New Jersey to administer oaths on June 5, 2020, at 10:00 a.m. at the
offices of MAGGIANO, DIGIROLAMO & LIZZI, 201 Columbia Avenue, Fort Lee, New
Jersey 07024, with respect to all matters relevant to the subject matter involved in this action.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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/ A “te

Dated: January 29, 2020 BY: C~—_s=

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DEMAND FOR ANSWERS TO INTERROGATORIES

Pursuant to R. 4:17-1(b)(2), Plaintiffs hereby demand that, in lieu of service of
interrogatories, Defendant, each provide answers to the uniform interrogatories set forth in Form
C and C(1) of Appendix II. Pursuant to R.4:17-4(b), Defendant shall serve answers upon Plaintiff
within sixty (60) days from the date of receipt of this Demand.

Pursuant to R. 4:17-1(b)(1), Plaintiff reserves the right to propound supplemental

interrogatories.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

Me

  

Dated: January 29, 2020

 

 
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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

 

[AIDEN BAE (husband) and YOONHA _ |: | LAW DIVISION: HUDSON COUNTY

JUNG (wife) : | SUPERIOR COURT OF NEW JERSEY
Plaintiff,

Vs. ‘ | Docket Number: HUD-L-

VIRGINIA TRANSPORTATION,

JOSEPH J. CAMISA, JR., JOHN DOES I- | Civil Action

Xx, (said names being fictitious, true names :
presently unknown), ABC CORPORATION),
I-X (said names being fictitious, true names
presently unknown), XYZ EMPLOYER I-X(:
(said names being fictitious, true names :
presently unknown)

PLAINTIFFS’ FIRST DEMAND FOR
SUPPLEMENTAL INTERROGATORIES
TO DEFENDANT JOSEPH J. CAMISA,

ae

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Defendant(s).

PURSUANT to Rule 4:17-1(b)(1), Plaintiffs hereby demands Defendant, JOSEPH J. CAMISA,
JR. provide answers to the following demand for supplemental interrogatory answers within the
time prescribed by the Rules of Court.

1. Were you in the course of employment at the time of the collision complained of in
Plaintiff's complaint.

2. If so state the name and address of your employer for whom you were working at the
time of the collision complained of.

3. Please state that exact location and place from where you had come from in your motor
vehicle and where you were intending to go.

4, State the purpose of your trip.

5. State the name of your cell phone provider for each cell phone owned by you or under

your control and possession at the time of the collision complained of July 1, 2019.

 

 
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6. For each such cell phone you owned, used or controlled at the time of the collision
complained of, please state the cell phone number assigned to each phone of the date of the
collision.

7. Please provide the primary account holder for each cellular phone above identified.

8. Please state if you were using your cell phone at the time of the collision complained
of either for texting or on a call.

9. Please provide all data showing you cell phone usage for the evening of July 1, 2019.

10. At the time of the subject collision did you have a cell phone on your person or in the

  

motor vehicle.
MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOON 1A JUNG
Dated: January 29, 2020 BY: “3 Ze Za s 4 ae —
E UJ AATWAN Gri sO

 

 
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CERTIFICATION

I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.

Dated: .2020 BY:

 

JOSEPH J. CAMISA, JR.

 

 
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CERTIFICATION

I hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, I am subject to punishment
under law.

Dated: _ ___» 2020

 

VIRGINIA TRANSPORTATION

 

 
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DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

Pursuant to R. 4:10-2(b) demand is hereby made that the defendant, JOSEPH J. CAMISA,
JR, disclose to the undersigned whether there are any insurance agreements or policies under
which any person of firm carrying on an insurance business may be liable to satisfy part or all of
a judgment which may be entered in this action or to indemnify or reimburse for payments made
to satisfy the judgment.

This request applies also to information regarding excess, umbrella or other supplemental
insurance policies available to each defendant.

As to each policy available whether primary, excess, umbrella or otherwise supplemental
coverage, please provide the following information under oath or certification, in the space
provided: (If additional space is required, kindly attach a rider to this demand) (a) number (b) name
and address of insurer or issuer (c) inception and expiration dates (d) names and addresses of all
persons insured thereunder (e) personal injury limits (f) property damage limits (g) medical
payment limits (h) name and address of person who has custody and possession thereof (1) where
and when each policy or agreement can be inspected and copied.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)

   
  
 

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Dated: January 29, 2020 BY: YG a d ON

ERUNMI £2W ANG, ESQ.

 

 
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CERTIFICATION

[hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, I am subject to punishment
under law.

Dated: , 2020
JOSEPH J. CAMISA, JR.

 

 
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DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

Pursuant to R. 4:10-2(b) demand is hereby made that the defendant, VIRGINIA
TRANSPORTATION, disclose to the undersigned whether there are any insurance agreements
or policies under which any person of firm carrying on an insurance business may be liable ta
satisfy part or all of a judgment which may be entered in this action or to indemnify or reimburs¢
for payments made to satisfy the judgment.

This request applies also to information regarding excess, umbrella or other supplemental
insurance policies available to each defendant.

As to each policy available whether primary, excess, umbrella or otherwise suppleniental
coverage, please provide the following information under oath or certification, in the space
provided: (If additional space is required, kindly attach a rider to this demand) (a) number (b) name
and address of insurer or issuer (c) inception and expiration dates (d) names and addresses of al]
persons insured thereunder (e) personal injury limits (f) property damage limits (g) medical
payment limits (h) name and address of person who has custody and possession thereof (i) where
and when each policy or agreement can be inspected and copied.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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==> f. 2
Dated: January 29, 2020 BY: -<—=—— — "

EUNMY TWANG, ESQ.

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Case 2:20-cv-02354-CCC-ESK Document1 Filed 03/04/20 Page 61 of 73 PagelD: 61

CERTIFICATION

I hereby certify that the above insurance information given by me is true. I am aware that
if any of the foregoing statements made by me are willfully false, I am subject to punishment
under law.

Dated: __ » 2020

 

VIRGINIA TRANSPORTATION

 

 
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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

AIDEN BAE (husband) and YOONHA LAW DIVISION: HUDSON COUNTY
JUNG (wife) : | SUPERIOR COURT OF NEW JERSEY
Plaintiff,

ee

 

Vs. Docket Number: HUD-L-

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VIRGINIA TRANSPORTATION,

JOSEPH J. CAMISA, JR., JOHN DOES I- [ i ac
X, (said names being fictitious, true names __ |,
sresentl C CORPORA’ .
Be ti naunest be nestetitione fuentes PLAINTIFF’S
; STATEMENT OF DAMAGES

presently unknown), XYZ EMPLOYER L-X |:
(said names being fictitious, true names
presently unknown)

 

 

 

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Defendant(s).

 

Pursuant to Rule 4:5-2, the following is the amount of damages claimed in the above
entitled action.

$1,000,000.00

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and YOONHA JUNG

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Dated: January 29, 2020 BY: ©—

 

 
 

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MAGGIANO, DiGIROLAMO & LIZZI, P.C.
EUNMI HWANG, ESQ.

Attorney ID No.: 248172017

201 Columbia Avenue

Fort Lee, New Jersey 07024

(201) 585-9111

Attorneys for Plaintiff(s)

AIDEN BAE AND YOONHA JUNG

 

 

AIDEN BAE (husband) and YOONHA __ |: SUPERIOR COURT OF NEW JERSEY
JUNG (wife) : |ILAW DIVISION: HUDSON COUNTY
™ Plaintiff, ' DOCKET NO.: HUD-L- 20
VIRGINIA TRANSPORTATION, Civil Action

JOSEPH J. CAMISA, JR., JOHN DOES I- |;
IX, (said names being fictitious, true names |,
presently unknown), ABC CORPORATION, DEMAND FOR

I-X (said names being fictitious, true names |; PRODUCTION OF DOCUMENTS
presently unknown), XYZ EMPLOYER I-X);
(said names being fictitious, true names
presently unknown)

 

 

 

 

____Defendant(s).

PLEASE TAKE NOTICE that in accordance with the R. 4:18-1 of the Rules Governing}
the Courts of the State of New Jersey, Plaintiff, AIDEN BAE, hereby requests that Defendant,
JOSEPH J. CAMISA, produce within thirty (30) days of receipt hereof, copies of the documents
described herein and deliver same to the offices of Maggiano, DiGirolamo & Lizzi, P.C., 201
Columbia Avenue, Fort Lee, NJ 07024.

DEFINITIONS AND INSTRUCTIONS

A. These requests are intended to be continuing and you are instructed to make prompt,
further and supplemental production whenever an additional document is discovered responsive
hereto,

B. If any document called for by these requests is withheld on the ground that it is
privileged, constitutes attorney work product, or is for any other reason exempt from discovery.
set forth the ground or grounds for withholding such document, its present location and custodian]
and such additional information as may be required to enable it to be identified and to enable the
Court to adjudicate the propriety of the withholding, including but not limited to the type ol
documents, its date, author(s), addressee(s), if different its recipient(s), and its general subject
matter.

 
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C. Documents produced in response to these requests shall be produced in such a
manner so as to identify the specific request to which they relate.

D. As used herein, the term "document" means, by way of illustration and not by way;
of limitation, the following items, whether printed or records or reproduced by any other
mechanical process, written produced by hand, produced or stored in a computer, regardless ol
origin or location: books, records, communications, reports, correspondence, letters, telegrams,
memoranda, summaries or records of telephone conversations, summaries or records of personal
conversations or interviews, applications, booklets, brochures, catalogues, circulars, magazines}
pamphlets, periodicals, bulletins, instructions, minutes, other communications (including, but no|
limited to, inter- and intra-office communications), purchase orders, bills of lading, bid tabulations,
questionnaires, surveys, contracts, agreements, options to purchase, memoranda of agreements,
licenses, books of account, orders invoices, statements, bills, checks, vouchers, ledger sheets}
accounts, journals, canceled checks, bank statements, bank passbooks, confirmations, statements
of accounts, analysis, diaries, graphs, notebooks, charts, tables, working papers, plans, indices,
summaries or records of meetings or conferences, summaries or reports of investigations or
negotiations, opinions or reports of accountants or consultants, data sheets, data processing cards,
photographs, photographic negatives, phono-records, tape recordings, discs, wire recordings
transcripts of recordings, drawings, motion picture film, advertisements, press releases, drafts, and
marginal comments appearing on any such documents, all other written or printed matter of any
kind or any other and all other data compilations from which information can be obtained and
translated if necessary.

E. As used herein, the term, "person" means an individual, firm, partnership,
corporation, proprietorship, association, governmental body, or any other organization or entity.

F. As used herein, any term in the singular shall be deemed to include the plural where
appropriate and vice versa.

G. As used herein, all terms including "and" and "or" shall be construed eithey
conjunctively or disjunctively as required by the context to include the response any document that
might be deemed nonresponsive by any other construction.

H. As used herein, "communication" means any written or verbal communication 01
other statement from one person to another, including, but not limited to, any letter, interview,
conference, meeting or telephone conversation.

DOCUMENTS TO BE PRODUCED:
Truckine Company Defendant, Virginia Transportation
1. Copies of any and all Record of Duty Status/Drivers Logs for the date of tha
accident, the six (6) months before the subject accident, and the two (2) weeks after the subject

accident.

2. Copies of any and all Bills of Lading for the date of the accident, six (6) months
prior to the subject accident, and the two (2) weeks after the subject accident.

 

 
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oe Copies of any and all! trip records for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

4. Copies of any and all loading and unloading records for the date of the accident,
the two (2) months before the subject accident, and the two months (2) after the subject accident.

ot Copies of any and all detention records for the date of the accident, the two (2)
months before the subject accident, and the two months (2) after the subject accident.

6. Copies of any and all freight bills for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

7. Copies of any and all written instructions for the date of the accident, the two (2}
months before the subject accident, and the two months (2) after the subject accident.

8. Copies of any and all dispatch records, written or electronic, for the date of the
accident, the two (2) months before the subject accident, and the two months (2) after the subject
accident.

9. Copies of any and all gas receipts for the date of the accident, the two (2) months
before the subject accident, and the two months (2) after the subject accident.

10. Copies of any and all trip expenses, including but not limited to toll receipts, hotel
or motel receipts, food receipts, maintenance and repair receipts, for the date of the accident, the
two (2) months before the subject accident, and the two months (2) after the subject accident.

11. Copies of any and all cell phone records for all cell phones owned and/or used by
the defendant commercial truck driver for the date of the accident, the two (2) weeks before the
subject accident, and the two weeks (2) after the subject accident.

12. Copies of any and all electronic communications between the defendant
commercial truck driver and the defendant truck owner sent electronically through a Qualcom4
Comdata, or similar electronic log system for the date of the accident, the two (2) weeks before
the subject accident, and the two weeks (2) after the subject accident.

13. Pursuant to Part 396 of the Federal Motor Carrier Safety Regulations
(FMCSRs), copies of any and all inspection records for the subject tractor-trailer and/o
commercial vehicle for a period commencing six (6) months prior to the date of the accident, up
to and including one month after the subject accident.

14. | Copies of any and all maintenance records for the subject tractor-trailer and/or
commercial vehicle for a period commencing one year prior to the date of the accident, up to and
including six (6) months after the subject accident.

15. Copies of any and all repair records for the subject tractor-trailer and/or commercial
vehicle for a period commencing six (6) months prior to the date of the accident, up to and
including one (1) month after the subject accident.

 

 
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16. Copies of any and all Driver Vehicle Inspection Reports for a period commencing}
twelve (12) months prior to the date of the accident, up to and including three (3) months after the
subject accident.

17. Copies of any and all commercial driver’s licenses held by the defendant truck
driver within the past five (5) years.

18. Pursuant to FMCSR Part 391.51, a full and complete copy of the defendant drivers:
Driver Qualification file.

19. A Copy ofany and all Medical Examination Reports for Commercial Driver Fitness
Determination for the defendant driver.

20. _ A list of violations or the certificate required by FMCSR 392.27, provided by the
defendant driver to the defendant trucking company.

21. Copies of the defendant driver’s annual review reports for the years within the last
five (5) years.
22. Copies of any and all accident reports for accident involving the defendant driver

for a period commencing within the last five (5) years. [FMCSR Sec. 390.30; FMCSR Sec,
391.51(b)(5)]

23. | Acopy of any correspondence(s) or items relating to the defendant driver’s ability)
to drive a motor vehicle safely within the last seven (7) years, including, but not limited to, letters
of warning, and records of disciplinary actions. [FMCSR Sec. 391.51(b)(5)].

24. Accopy of the records pertaining to the defendant driver’s training, including, bui
not limited to, curriculum covering safe operating practices, such as: visual search, speed
management, space management, night operations, hazard perception and emergency mancuvers|
[FMCSR Sec. 391.51]

25. Copies of the following items for the date of incident, the six (6) months prior and
the six (6) months after the accident:

a. USDOT Safety Fitness Ratings of the Defendant.

b. Copies of all USDOT Safety Compliance Audits of the Defendant.

c. All fuel tax reports of the Defendant.

d. All state safety audits of the Defendant.

e. All federal accident reports filed by the Defendant.

f. All USDOT and State inspection reports of the Defendant.

g. All USDOT and State inspections of the tractor involved in the crash.

26. A copy of any and all recordings made from any flight box recorder(s) and/or black

box(s) from the date of the accident, one (1) week prior and one (1) week after the accident.

27. | Acopy of the defendant driver’s employment and personnel file.

 

 
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28. A copy of any and all commercial trucking licenses for the defendant driver for the
two years prior to the subject accident and until the present.

29. A copy of all maintenance records for the vehicle driven by the defendant at the
time of the accident.

30. | Acopy of any and all records pertaining to and regarding any pick-ups, drop-offs,
stops, any and all routes for the vehicle driven by the defendant on the date of and the two (2)
weeks prior to the subject accident.

31. | Acopy of any and all contracts related to any pick-ups, drop-offs, and/or stops that
the defendant driver made on the date of the subject accident, as well as the two (2) weeks prio!
and the two (2) weeks after the accident.

32. | Acopy of any and all records from any and all weight measurements for the vehicle
driven by the defendant on the date of the accident, the two (2) weeks prior to the date of the
accident, and the two (2) weeks after the accident.

33. | Acopy of any and all contracts if the defendant driver was driving to a job in which
there had been a contractual agreement.

34. | Acopy of any and all dash-cam video and/or audio form the date of the accident.

35. | Acopy of any and all Statements given by the defendant to the insurance carrict
regarding the incident which forms the basis of this litigation.

36. A copy of the defendant driver’s qualification file, including, but not limited to;

37. A copy of the defendant driver’s application for employment;

38. | Acopy of any and all medical examination reports;

39. | Acopy of any and all medical examiner’s certificates;

40. A copy of any and all record & certificate of road test;

41. MVR for every year the defendant driver was employed by your company;

42. A copy of any and all records for violations;

43. A copy of any and annual review certificates;

44, A copy of employment eligibility verification forms and documents;

45. A photo static copy of the defendant driver’s commercial driver’s license.

46. Acopy of the defendant driver’s security information file, including, but not limited

to:
47, Previous employer checks;
48. Criminal background history and documents;
49. Documents related to the release of Drug & Alcohol Screens

50. A copy of the defendant driver’s drug and alcohol file:

51. Pre-employment drug and alcohol screening results and documents;

 

 
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52. Copies of pre-accident drug & alcohol screening results and documents;
53. Copies of post-accident drug & alcohol screening results and documents.
54. A copy of any and all onboard monitoring device data, including data from GPS

satellite positioning and messages to/from the vehicle to the company.

55.  Acopy of the ECM (Electronic control Module) data report from the week prior td
the accident and the date of the accident.

56. A copy of any and all Toll Tickets/Receipts for the date of the accident and tha
three (3) months prior.

57. A copy of any and any all company policies & procedures in place at the time of
the accident. This includes, but is not limited to, manuals, memos, emails, and bulletins.

58. | Acopy of any and all employee handbooks in place at the time of the accident, the
two years prior, and the two years after.

59.  Acopy of any and all records related to the installation, repair, maintenance, and/o1
upkeep of the brakes, as well as the braking system(s), for the vehicle involved in the accident.

60. | Acopy of any and all Employee personnel files for JOSEPH J. CAMISA, JR.
61. | A copy of any and all documents you may rely on at the time trial.

62. A copy of any and all statements made by the owner as well as employees ol
VIRGINIA TRANSPORTATION made to an insurance carrier.

63. The copy of any and all payroll records for JOSEPH J. CAMISA, JR., for the
month before, the week of, and the month after the accident.

64. Accopy of any and all report forms provided to any insurance companies.

65. A copy of any and all repair bills and estimates for damage occurring as result of
the accident.

66. A copy of any and all photographs for any damage occurring as a result of the
accident. Please provide them in color.

67. A copy of any and all drivers abstracts for driver JOSEPH J. CAMISA, JR.

68. A copy of any and all documents related to the deliveries that were made by
JOSEPH J. CAMISA for the day before, the day of, and the day after the accident.

69. A copy of any and all bills of lading for the trips taken by JOSEPH J. CAMISA,
JR. for the week before, the day of, and the week after the accident.

 

 
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70. A copy of any and all time sheets for JOSEPH J. CAMISA for the week before,
the day of, and the week after the accident.

71. A copy of any and all insurance policies in effect at the time of the accident fo:
VIRGINIA TRANSPORTATION.

72. A copy of any and all certificates of insurance in your possession for the last seven
(7) years for VIRGINIA TRANSPORTATION,

General Negligence/All Cases

1. All captions and docket numbers of every action this Defendant has ever been a
party to, including pending actions.

2. Any and all written statements, as well as oral statements reduced to writing, of al]
Plaintiff(s).
3. Any and all written statements, as well as oral statements, reduced to writing

provided by Defendant, and/or his agents, servants or employees to any adjuster for the
Defendant’s insurance company in accordance with Pfender v. Torres 336 N.J. Super, 379.

4. Any and all written statements, as well as oral statements, reduced to writing of any,
and all other parties to this action.

5. Any and all written statements, as well as oral statements, reduced to writing of any
and all agents, servants and employees of this Defendant, which in any way involve and/or discuss
the Plaintiff(s), and/or the subject incident in accordance with Pfender v. Torres 336 N.J. Super,
379.

6. Any and all written statements, or oral statements, reduced to writing of any and all
witnesses to any aspects of the incident complained of, as well as of any aspects of Plaintiff's
claims in accordance with Dinter v. Sears, Roebuck & Co., 52 N.J. Super 84 (App. Div. 1991).

7. Any and all Central Index Bureau and/or Index System Reports regarding the
Plaintiff.
8. Copies of all videos, photographs, motion pictures, charts, sketches, illustrations]

diagrams and/or pictures relating to the incident complained of, as well as any and all aspects of
Plaintiffs claim.

9, Copy of this Defendant’s “filed” Answer.
10. Copies of any and all subpoenas served by this Defendant in this matter.

11. Copies of all documents and any other information obtained through subpoenas,
and/or medical authorizations signed by the Plaintiffs.

 

 
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12. Copies of all documents and any other information obtained from any of Plaintiffs
medical providers, acquired by way of subpoena(es) and/or medical authorization(s), or by any,
other means.

13. Copies of all discovery propounded upon all other parties (other than the Plaintiffs)
14. Copies of all discovery received from all other parties (other than the Plaintiffs).

15. Copies of any and all written reports and/or oral reports reduced to writing, which
in any way concems the subject incident, and/or any and all claims of the Plaintiff, made to/by a
police official/department and/or any governmental authority.

16. Any and all photographs, charts, drawings, motion pictures, videos and/or
surveillance reports of the Plaintiff(s).

17. Copy of the Curriculum Vitae of each proposed expert witness of this Defendant.

18. The name and address and title of each agent, servant and/or employee of any and
all of Defendant’s medical experts who were are present during any and all examinations and/or
interviews or any other aspects of defense medical/psychiatric IME’s of the Plaintiff.

19. Any and all intake sheets, patient questionnaire forms or other documents filled out
and/or completed or drafted pursuant to any and all defense examinations of the Plaintiff, taken o1
to be taken in this matter.

20. Clear and complete copies of any and all reports of any and all defense experts,
whether or not intended to be called at the time of trial.

21. Pursuant to R. 4:17-4(c), copies of Answers to this Defendant’s Interrogatories by,
all other parties.

22. Any and all correspondence, as well as oral communications reduced to writing!
between this Defendant and any other party to this action.

28) Any and all written reports or oral reports reduced to writing that include whether
Defendant or anyone on behalf of this Defendant has knowledge of any other personal injury)
claim(s) or lawsuit(s) made by the Plaintiff(s), either prior to or subsequent to the date of the
incident complained of, and attach a copy of all written documents relating thereto that are in the
possession of this Defendant.

24. Any and all documents regarding, or relating to any other injuries, illnesses]
medical conditions and/or psychiatric conditions sustained by the Plaintiff(s), whether before or
after the date of the incident complained of.

25. Any and all documents in your possession, custody and/or contro! that refer, o1
relate in any way to reservation of rights from this Defendant’s insurance company.

 

 
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26. Any and all documents, including but not limited to, incident reports, photographs,
tape recordings, films, videotapes, motion pictures, diagrams and/or sketches in your possession,
custody and/or control that refer or relate in any way to circumstances surrounding the ‘subject
incident.

27. Any and all documents, including but not limited to, photographs, videos, films,
diagrams and/or sketches in your possession, custody and/or control that refer or relate in any way
to Plaintiff's physical condition on, or after the date of the incident complained of.

28. Any and all written reports and/or oral reports reduced to writing of the subject
incident and/or circumstances relating to the subject incident, made by this Defendant and/or to
this Defendant and/or by any servant, agent and/or employee of this Defendant, and/or to any
servant, agent and/or employee of this Defendant.

29. Name and address of each agent, servant and/or employee of this Defendant and/o1
of Defendant’s insurance company and/or insurance broker and/or insurance agent, spoke with)
Defendant, JOSEPH J. CAMISA, JR. at any time since the moment of the incident complained
of, and the dates and time of said conversations, and whether or not said conversation(s) were in
person or over the telephone, and who initiated the call or contact, and how this person received
notice of the said incident.

30. True copies of any and all investigative reports pertaining to the subject incident.
31. Any and all incident and/or accident, and/or injury reports, filed, made or drafied
by or on behalf of this Defendant, and/or received by this Defendant, as a result of the (D/A}

incident complained of.

32. Any and all records, reports, and/or other documents upon which this Defendant
will rely upon at the time of trial.

Automobile Negligence Cases

1. Any and all photographs, and/or videotapes depicting this Defendant’s vehicle on
and since the incident of July 1, 2019.

De. Any and al] photographs, and/or videotapes depicting any other vehicles involved
in the subject collision of July 1, 2019.

3, Any and all photographs, and/or videotapes depicting damage to any tangible
property as a result of the collision of July 1, 2019.

4. Any and all photographs, videotapes, sketches, drawings, blueprints, and/or
diagrams of the subject collision scene.

oy Any and all photographs, and/or videotapes depicting the Plaintiff's vehicle since
the collision of July 1, 2019.

 

 
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6. Any and all invoices, estimates and/or repair bills setting forth the damages and
repairs to Plaintiff's vehicle as a result of the subject auto accident.

7. Copy of front and back of this Defendant’s Driver’s License (if defendant/driver,
otherwise get front and back of defendant/driver’s license).

8. Copy of this defendant’s automobile insurance policy, as well as any excess
insurance policies and umbrella policies, relevant to the subject collision.

9. Copies of any and all written reports and/or oral reports reduced to writing of the
subject incident, made to/by the police department and/or any governmental authority.

10... Any and all employment contracts and/or commission contracts and/or any other
business contracts between this Defendant, and any Co-Defendant, VIRGINIA
TRANSPORTATION, which existed and/or was in effect at the time of this incident July 1, 2019)

11. | Names and current addresses of all occupants to this Defendant’s vehicle at the time
of the subject collision.

12. Name and address of the individual(s) who last inspected this Defendant’s vehicle
prior to the subject collision, whether by a governmental authority or by an agent, servant-and/o1
employee of this Defendant (e.g., daily inspections prior to operation).

13. CELL PHONE RECORD PRODUCTION: Defendant is required to produce a‘trud
copy of all cell phone calls made and received for the five-hour time period covering before and
after the subject incident complained of in the complaint in addition to all records of text messaging
received and made during such time period.

14. Defendants are to produce all records showing the name and address of all cell phone
providers as well as the cell phone numbers listed to each defendant covering the date of the
incident complained of.

MAGGIANO, DIGIROLAMO & LIZZI P.C.
Attorneys for Plaintiff(s)
AIDEN BAE and SSYONHA JUNG

— Fs
_— Ca ——

Dated: January 29, 2020 BY: = EL GAP mat ff’
eu Neer ALWANG, ESQ.
SO

 

 
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Civil Case Information Statement

Case Details: HUDSON | Civil Part Docket# L-000426-20

Case Caption: BAE AIDEN VS CAMISA, JR. JOSEPH Case Type: AUTO NEGLIGENCE-PERSONAL INJURY (NON-
Case Initiation Date: 01/29/2020 VERBAL THRESHOLD)

Attorney Name: EUNMI HWANG Document Type: Complaint with Jury Demand

Firm Name: MAGGIANO DIGIROLAMO & LIZZ] PC Jury Demand: YES - 6 JURORS

Address: 201 COLUMBIA AVE Is this a professional malpractice case? NO

FORT LEE NJ 07024 Related cases pending: NO

Phone: 2015859111 If yes, list docket numbers:

Name of Party: PLAINTIFF : Bae, Aiden Do you anticipate adding any parties (arising out of same
Name of Defendant’s Primary Insurance Company transaction or occurrence)? NO

(if known): Unknown Are sexual abuse claims alleged? NO

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

01/29/2020 /s/ EUNML HWANG
Dated Signed
